                                                                 Case 2:09-cv-00208-KJM-EFB Document 334 Filed 04/29/19 Page 1 of 4

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                                                            6
                                                                Attorneys for Plaintiffs The Morning Star Packing Company,
                                                            7   Liberty Packing Company, LLC, California Fruit & Tomato
                                                                Kitchens, LLC, and The Morning Star Company
                                                            8

                                                            9

                                                           10                                    UNITED STATES DISTRICT COURT
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                                                           11                                    EASTERN DISTRICT OF CALIFORNIA

                                                           12

                                                           13    THE MORNING STAR PACKING COMPANY,                   )   Case No. 2:09-CV-00208 KJM-EFB
                                                                 a California limited partnership; LIBERTY           )
                                                           14    PACKING COMPANY, LLC, a California                  )
                                                                 limited liability company; CALIFORNIA               )   NOTICE OF STIPULATED REQUEST FOR
                                                           15    FRUIT & TOMATO KITCHENS, LLC, a                     )
                                                                 California limited liability company; and THE       )   DISMISSAL WITH PREJUDICE AS TO ONLY
                                         law corporation




                                                           16    MORNING STAR COMPANY, a California                  )   DEFENDANTS SK FOODS L.P. AND SK PM
                                                                 corporation,                                        )   CORPORATION
                                                           17                                                        )
                                                                                   Plaintiffs,                       )
                                                           18                                                        )   AND ORDER
                                                                         vs.                                         )
                                                           19                                                        )
                                                                 SK FOODS, L.P., a California limited                )
                                                           20    partnership; SK PM CORPORATION, a                   )
                                                                 California corporation; SCOTT SALYER, an            )
                                                           21    individual; RANDALL RAHAL, an individual;           )   Complaint Filed: January 22, 2009
                                                                 INTRAMARK USA, INC., a New Jersey                   )   Trial Date: No trial date set
                                                           22    corporation; INGOMAR PACKING                        )
                                                                 COMPANY, LLC, a California limited liability        )
                                                           23    company; GREG PRUETT, an individual; LOS            )
                                                                 GATOS TOMATO PRODUCTS; STUART                       )
                                                           24    WOOLF, an individual; ALAN HUEY, an                 )
                                                                 individual; and DOES 1 through 50,                  )
                                                           25    inclusive,                                          )
                                                                                                                     )
                                                           26                      Defendants.                       )
                                                           27   ///

                                                           28   ///

                                                                                                                           Notice of Stipulated Request for Dismissal as to Only
                                                                 {2646356.DOC;2}                                 1                    Defendant Scott Salyer; [Proposed] Order
                                                                                                                                              Case No. 2:09-cv-00208-KJM-EFB
                                                                 Case 2:09-cv-00208-KJM-EFB Document 334 Filed 04/29/19 Page 2 of 4

                                                            1          Plaintiffs The Morning Star Packing Company, Liberty Packing Company, LLC,

                                                            2   California Fruit & Tomato Kitchens, LLC, and The Morning Star Company (collectively,

                                                            3   “Plaintiffs”), and defendants SK Foods, LLP and SK PM Corporation, (collectively

                                                           4    “SK Defendants”), by and through Bradley D. Sharp (“Trustee”), the duly appointed and acting

                                                            5   chapter 11 trustee for substantively consolidated debtors SK Foods, L.P., and RHM

                                                            6   Industrial/Specialty Foods, Inc., which consolidation includes defendant SK PM Corporation ,

                                                            7   by and through their attorneys of record, file this stipulation and proposed order of dismissal

                                                            8   with prejudice of SK Foods, LLP and SK PM Corporation pursuant to Federal Rules of Civil

                                                            9   Procedure, rule 41(a)(2).

                                                           10          Plaintiffs filed their Complaint on January 22, 2009, naming SK Foods and others as
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                                                           11   defendants [Dkt. 1]. On January 29, 2010, Plaintiffs filed a First Amended Complaint adding

                                                           12   SK PM Corporation and others as a defendants [Dkt. 100]. On December 6, 2010, Plaintiffs

                                                           13   filed a Second Amended Complaint [Dkt. 116].

                                                           14          The action against the SK Defendants was automatically stayed because of the filing of

                                                           15   the Notice by Defendant SK Foods, L.P. of Pendency of Chapter 11 Case filed in this matter on
                                         law corporation




                                                           16   May 11, 2009 [Dkt. 75].

                                                           17          Plaintiffs and the Trustee entered into an Amended Agreement for Allowance of Claims

                                                           18   by which Plaintiffs and the SK Foods Defendants compromised all claims raised by Plaintiffs

                                                           19   in this action against the SK Foods Defendants. Plaintiffs and the Trustee filed a motion to

                                                           20   approve the compromise and specifically filed a Notice of Filing Amended Agreement for

                                                           21   Allowance of Claims filed in the United States Bankruptcy Court for the Eastern District of

                                                           22   California, Sacramento Division, Case No. 09-29162-D-11 and Case No. 09-29161-D-11

                                                           23   (“Bankruptcy Court”), which attached a copy of the Amended Agreement for Allowance of

                                                           24   Claims (“Compromise”), a true and correct copy of which is attached hereto as Exhibit “A.” On

                                                           25   January 27, 2011, the Bankruptcy Court issued a Memorandum of Decision approving the

                                                           26   Compromise as fair and equitable. A true and correct copy of the Memorandum of Decision

                                                           27   is attached hereto as Exhibit “B.” That same date, the Bankruptcy Court issued its Order

                                                           28   granting

                                                                                                                      Notice of Stipulated Request for Dismissal as to Only
                                                                 {2646356.DOC;2}                               2                 Defendant Scott Salyer; [Proposed] Order
                                                                                                                                         Case No. 2:09-cv-00208-KJM-EFB
                                                                 Case 2:09-cv-00208-KJM-EFB Document 334 Filed 04/29/19 Page 3 of 4

                                                            1   ///

                                                            2   the motion to approve the Compromise between Plaintiffs and the Trustee. A true and correct

                                                            3   copy of the Order is attached hereto as Exhibit “C.”

                                                           4           In order to fully effectuate the terms of the Compromise, Plaintiffs and Trustee hereby

                                                            5   stipulate and request that the claims against the SK Defendants be dismissed with prejudice

                                                            6   in the above-entitled action pursuant to rule 41(a)(2) of the Federal Rules of Civil Procedure

                                                            7   on the terms that the Amended Agreement for Allowance of Claims approved by Order of

                                                            8   the Bankruptcy Court dated January 27, 2011, is not affected by the dismissal and remains in

                                                            9   full force and effect. Plaintiffs and Trustee further stipulate that each side shall bear its own

                                                           10   attorneys’ fees and costs.
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                                                           11          IT IS SO STIPULATED.

                                                           12                                       Respectfully submitted,

                                                           13   Dated: April 19, 2019        WEINTRAUB TOBIN CHEDIAK COLEMAN GRODIN
                                                                                                    Law Corporation
                                                           14

                                                           15                                       By:     /s/ Dale C. Campbell
                                                                                                            Dale C. Campbell, SBN 99173
                                         law corporation




                                                           16
                                                                                                    Attorneys for Plaintiffs The Morning Star Packing
                                                           17   Company,
                                                                                                    Liberty Packing Company, LLC, California Fruit & Tomato
                                                           18                                       Kitchens, LLC, and The Morning Star Company
                                                           19
                                                                Dated: April 19, 2019               NUTI HART LLP
                                                           20

                                                           21                                       By:     /s/ Kevin Coleman
                                                                                                            Kevin Coleman, SBN 168538
                                                           22
                                                                                                    Attorneys for Bradley D. Sharp, Chapter 11 Trustee
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                                                                                                                       Notice of Stipulated Request for Dismissal as to Only
                                                                 {2646356.DOC;2}                                3                 Defendant Scott Salyer; [Proposed] Order
                                                                                                                                          Case No. 2:09-cv-00208-KJM-EFB
                                                                 Case 2:09-cv-00208-KJM-EFB Document 334 Filed 04/29/19 Page 4 of 4

                                                            1                                               ORDER

                                                            2          Having reviewed the above Stipulated Request for Dismissal with Prejudice by Plaintiffs

                                                            3   The Morning Star Packing Company, Liberty Packing Company, LLC, California Fruit & Tomato

                                                           4    Kitchens, LLC, and The Morning Star Company (collectively, “Plaintiffs”) and defendants SK

                                                            5   Foods, LP and SK PM Corporation, by and through Bradley D. Sharp, Chapter 11 Trustee, and

                                                            6   good cause appearing therefor,

                                                            7          IT IS HEREBY ORDERED that Plaintiffs’ action as to defendants SK Foods, LP and SK PM

                                                            8   Corporation only is dismissed with prejudice and that the Amended Agreement for Allowance

                                                            9   of Claims approved by Order of the Bankruptcy Court dated January 27, 2011 is not affected

                                                           10   by this dismissal and remains in full force and effect . Each side shall bear its own attorneys’
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                                                           11   fees and costs.

                                                           12          IT IS SO ORDERED.

                                                           13   Dated: April 29, 2019.
                                                           14
                                                                                                                   UNITED STATES DISTRICT JUDGE
                                                           15
                                         law corporation




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                                                                                                                       Notice of Stipulated Request for Dismissal as to Only
                                                                 {2646356.DOC;2}                               4                  Defendant Scott Salyer; [Proposed] Order
                                                                                                                                          Case No. 2:09-cv-00208-KJM-EFB
